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                                                                April 30, 2010

        FILED VIA CM/ECF
        Ms. Sharon Wiley, Deputy Clerk
        United States Court of Appeals
               for the Fourth Circuit
        501 United States Court House Annex
        1100 East Main Street
        Richmond, VA 23219-3517

                 RE:      United States v. Paulette Martin, et al.
                          4th Circuit No. 07-4059 (L)
                          Supplement to motion to stay

        Dear Ms. Wiley:

                       I submit this letter in my role as lead counsel as a supplement to the motion to stay
        the appeal, and a status report concerning the progress of the forfeiture matters before the district
        court, which matters were the subject of the motion to stay.

                        The government (Appellee) has filed this date a consent request for an extension
        of time until May 20 to file a response in the district court. I therefore submit that a hearing
        likely will not be held until June, and a ruling will not issue until then, or shortly thereafter.

                        Notwithstanding this, however, the various counsel for Appellants are finishing
        their work on assembling the JA, in order that Appellee might in turn be able to identify what it
        wishes to add to this. Counsel for Appellants are submitting issues (presently numbering at least
        16) and related materials to me for inclusion in the joint brief. In addition, I am crafting the
        general argument on the forfeiture issue, in anticipation of quickly finalizing same once the
        district court has ruled and this issue is ripe for resolution as being properly before this Court.

                         Accordingly, I submit that by the point the forfeiture issue is resolved by the
        district court, the balance of the joint brief and JA will be substantially prepared, and we will be
        able to submit our initial filing to the Court within the time set out in the new briefing order
        which will then issue, in order that that this appeal will not be delayed further.
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        April 30, 2010
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                      Thank your for your attention to this. Please do not hesitate to contact me should
        you have any further questions.

                                                            Very truly yours,


                                                                    /s/


                                                            Michael D. Montemarano

        MDM/ap

        cc:    all listed counsel for Appellee and Appellants, via email
